Case 8:15-cv-00192-AEP Document 127-2 Filed 05/02/17 Page 1 of 3 PagelD 1488

Exhibit B
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No. G388 oP. 3 ae

Appointment Application

AIG Life Brokerage
Mombar at American ins ational Gratin, ing,

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Please Print Clearly

Social Security Nunbe: Sy

Nama: Bechtel Kevin)
“Y Last Name First Wamb Middle Initia!
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mont day year
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_ | Physical Address
Amn po. . Ft B3626
City State Zip
RasidentHome Phone Number, _&/73  8S'Y wecsey EMail Kbech ted e } beget

Business Address: £276 3 bu ih +o Bax Blea Xulhe 330 Cleprnfa pee
i Physical Address Smite Fl. Zip 333549
Business Phone Number: 727- P41 9080 ren Number FZ? 7/2 /4S9

” £2'1 om an officar of the below corporation.

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MRS Sc rcy cs
‘ Pipgse Print Clearly
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individual Applioants Do Not Complete Thic Soction

Bours Ecbi6 pf

Corporate Name:
Corporate Address: Bluol Sie RR -
Lltarwgter FL" 33759
City . State Zip
Corporate Fhons Number: 727 FU) 7O8O Stara incorporated: — FL
FeaxNumber F293 12 /454 emer beable! /beo, nest

_ 4. Primary Officer for Corporate Recoris:
at ackground information reported on page ~ should provide information for the Officer of the corporation,

5 aii CAG ome ls sicre arti ; :
“i ig Primary mafiitg sddress, phone contact, emall and faxes Complete ONLY whee address used is NOT the above address.
will be communicated to the following:

” at Home Office Mall and other Communication will be nae to:

Agency Name: LEE j P Agency Code Number: OF LL ty.
Address: RUA (mie #70 BAY Bhd, Be Raye}
CLEARLIBTED _FL 3S 359
City State Zin
Fax Number: _. 722 2-9 2~/Y¥S9 Phone Number: __ 932°7-'79/-AO KD
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Life Brokerage Equity Group No.6398 oP. 4

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AMERICAN REDACTED’ Apel

AIG Life Brokerage

Mamber of Amodtcan irsseational Group, Ine.

Be eco iti
‘Attach copies of licenses for alf requested state appointments. Provide appropriate fees for nonresident appointments.

ips Social Seowity Number:
“s Apolisant Name: Kevin Bechtel
Usensed tor (2 ute ff Health Contracted as C) individual BY Agency |
Resident Stee: FL. Resident License Number _AD Ly [bz

Nonresident Appointment State(s):
: Attach epplicable taes and licenses for states listed above

EEE LICE RCC REO CRS MAE ie TSS T Mee (eit tisct cel
Please complete the following ONLY when requesting varighle appointment,
Who is your BrokeyfDealer? 151

CRO Number:
( Girele all: current NASD fisenses thatyou hoid (@ 7 22 24 2 63 Other

Independant Wholesaler lection
Some brokerdenters may permit third-party wholesaling firms t0 offer certain setvices and supportto registered representatives in
order to facilitate sales af the Products. These firms are referred to by AGLD as Indepondont Wholesalers (WV). in order for you to
' sell AGLI's varladle universal life insurance products through an IW, an IW agreement must be in place, your broker-dealer must
be Informed, pursuant 20 NASD Rule 9030, of the IW slaction and this Election Form must be submited tw Alt Life Brokerage thet
documents your IW selection. if you wish to obtain support thraugh on IW finn, please Indioste your election below:

C) WW Blection:
{Name of IW Firms and Code Number)

Rrra ernernann PET Viacom CCE brea nce] 3 re opm es CPN TOM MEE te

{ves - f have ERO Coverage iCopy of current Certification enclosed).
Cl No- Ido not have ERO Coverage ,

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